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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


UNITED STATES OF AMERICA

VS.                                                            Criminal Case No. 8:02-CR-19-T-27EAJ

TERESA MARTINEZ


                                                     ORDER

         BEFORE THE COURT is Petitioner's Habeas Corpus Petition Pursuant to the Original

Habeas Corpus and Request for Dismissal of the Indictment and Conviction and Request for

Declaratory Judgment (Dkt. 546), Petitioner's Motion to Respond to Original Habeas Corpus

Dismissal of the Indictment and Conviction for Declaratory Relief (Dkt. 550) and the Government's

Response in Opposition to Petitioner's Habeas Corpus Petition (Dkt. 553).

         Upon consideration, Petitioner's Habeas Corpus Petition Pursuant to the Original Habeas

Corpus and Request for Dismissal of the Indictment and Conviction and Request for Declaratory

Judgment (Dkt. 546) is DENIED. As filed, the Petition presents no basis for subject matter

jurisdiction. If construed as a motion filed pursuant to 28 U.S.C. 5 2255, the Petition is time barred

and Petitioner has not established a basis for equitable tolling.

                                                  Background1

         Petitioner was charged in six counts of a fifty-five count Indictment with conspiracy to

commit Medicaid and Medicare fraud (Count 1) in violation of 18 U.S.C. 5 37 1 and five counts of

submitting false claims to Medicaid and Medicare (Counts 4, 15, 16,21 and 23) in violation of 18



         'The summary of background facts and proceedings is restated from this Court's Order which was entered after
a preliminary review of the Petition (Dkt. 547).
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U.S.C. 5 287. Following a jury trial, Petitioner was found guilty on Counts l , 4 , 15,21 and 23 and

not guilty on Count 16. Petitioner was sentenced to a term of imprisonment of fifty-one months on

each count to run concurrently, followed by three years of supervised release, a fine in the amount

of $2,579,069.00 and a $200.00 special monetary assessment. Petitioner's convictions were affirmed

on March 5,2004 (Dkt. 518). See United States v. Martinez, 99 Fed.Appx. 880 (Table) (1 lth Cir.

2004). Petitioner filed the instant petition on September 12,2006.*

         In her Petition, Petitioner contends that the district court had no jurisdiction to convict her

and therefore her convictions and sentence are illegal. She claims to bring this action pursuant to

the "original habeas corpus and not as a motion or petition pursuant to 28 U.S.C. 5 2255 (1948) or

28 U.S.C. 5 2241 (1948)" (Dkt. 546, pp. 3, 7). She contends that those statutes are "nullities,"

"never existed" and were "never enacted into positive law and are unconstitutional on their face"

(Dkt. 546, pp. 2-3,7). Petitioner asserts that Public Laws 80-772 and 80-773, as well as 18 U.S.C.

5 323 1 are likewise unconstitutional and are "null and void ab initio, from the beginning." (Id.) She
also contends that "the last valid habeas statute," 28 U.S.C. 5 451, was repealed thereby making it

a nullity (Dkt. 546, p. 6). Additionally, Petitioner argues she is actually innocent of the crimes for

which she was convicted and that her attorney was ineffective in various ways. (Id., p. 3-4).

         This Court undertook a preliminary review of the Petition and determined that the Petition

should be construed as amotion filedpursuant to 28 U.S.C. 5 2255 (Dkt. 547). Petitioner was given

notice of the consequences of her Petition being construed as a 5 2255 motion and notified of three




          See Washington v. UnitedStates, 243 F.3d 1299, 1301 (1 lth Cir. 2001) (pro se prisoner's 3 2255 motion is
deemed filed on the date it is delivered to prison authorities for mailing whch, absent evidence to the contrary, is
presumed to be the date the prisoner signed it); see also Adams v. United States, 173 F.3d 1339 (1 lth Cir. 1999) (pro
se prisoner's motion to vacate is deemed filed the date it is delivered to prison authorities for mailing).
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options available to her in that regard, in accordance with Castro v. United States, 540 U.S. 375,383

(2003). (Id., p. 4-5). Petitioner was expressly advised that her Petition would likely be time barred

if construed as a 5 2255 motion. (Id., p. 6). Accordingly, Petitioner was directed to advise the Court

under which of the three options she wished to pursue, and that if she failed to elect an option, her

motion would be recharacterized as a 5 2255 motion to vacate. If Petitioner selected to have her

Petition construed as a 5 2255 motion, she was directed to show cause why it should no1

dismissed as time barred. (Id., p. 7).

          In her response to that Order, Petitioner confirmed that she "challenges the legality of 1

conviction and sentence" (Dkt. 550, p. 1-2). Petitioner indicated that she "wish to pursue the Option

of having the Court to rule on the instant petition as filed." (Id., p. 6). Accordingly, this Court will

consider the petition "as filed," in accordance with Petitioner's expressed request.

                                                      Discussion

         As filed, the Petition asserts jurisdiction pursuant to "the original habeas corpus" and "the

last valid habeas statute." 28 U.S.C. 5 451 (1940) (Dkt. 546, p. 6).3 In 1940, § 451 provided

authority for a district court to issue a writ of habeas corpus. See Walker v. Johnson, 3 12 U.S. 275,

283 (1941) ("the statutes of the United States declare that . . . the district courts shall have power to

issue writs of habeas corpus"). The current version of 5 45 1 provides definitions for terms relating

to Title 28, Judiciary and Judicial Procedure, and does not provide a statutory basis for a cause of

action. See 28 U.S.C. 5 451; Jones v. Unknown Warden, 2006 WL 389833 at * l (E.D. Mo. 2006).



            Petitioner contends that 28 U.S.C. 5 451 (1940) is the "last valid habeas statute." She does note, however,
that this statute was repealed and to the extent that it is "part of the fraudulent enactment of Public Law 80-773, it too
is a nullity." (Dkt. 546, p. 6). Notwithstanding, because she clearly states that this matter is not one brought pursuant
to 28 U.S.C. § 224 1 or 28 U.S.C. § 2255 and given that she provides no other basis upon which she can bring this action,
the Court will consider her petition as filed pursuant to 28 U.S.C. 5 451, as Petitioner requests.
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As such, the Court is without jurisdiction to entertain the instant action as framed. Id.

Notwithstanding, in this unusual circumstance, the Petition will be constsued as a 5 2255 motion to

vacate, and its timeliness will be addressed.

         Given Petitioner's misguided jurisdictional contentions, and that she has expressly

disclaimed any reliance on 28 U.S.C. $ 2255, summary dismissal should be the result. However,

since Petitioner is collaterally attacking her sentence as violating the United States Constitution, the

proper avenue of relief is $ 2255 and her Petition should be construed as a 5 2255 motion. See

United States v. Holt, 417 F.3d 1172,1175 (1 1th Cis. 2005); Sanders v. Unitedstates, 113 F.3d 184,

187 (1 lth Cir. 1997) (duty to liberally constsue pro se litigant's assertions to discern whether

jurisdiction can be founded on a legallyjustifiable basis). Accordingly, the Petition will be evaluated

pursuant to 28 U.S.C. $2255. See Castro v. United States, 540 U.S. at 38 1-82 (federal courts may

recharacterize a pro se litigant's motion to avoid unnecessary dismissal or to create a better

correspondence between the substance of the motion and its underlying legal basis) (internal citations

~mitted).~

         A motion pursuant to $ 2255 is the primary means by which a petitioner may collaterally

attack the validity of her conviction and sentence.                 Generally, only constitutional claims,

jurisdictional claims and claims of error so fundamental as to have resulted in a complete miscarriage

ofjustice are cognizable in a $ 2255 motion for relief. See United States v. Addonizio, 442 U.S. 178,

184-86 (1979). Although under the "savings clause" of $ 2255, a petitioner may file a fj 2241

petition if she demonstrates that an othenvise available remedy under $ 2255 is inadequate or



            Petitioner's contention that $5 2241 and 2255 "are nullities, were never enacted into positive law, are
unconstitutional on their face, and are null and void ab initio" (Dkt. 546, pp. 2, 5 1-62) is frivolous.
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ineffective to test the legality of her detention, Sawyer v. Holder, 326 F.3d 1363, 1365 (1 lth Cis.

2003); see also Wofford v. Scott, 177 F.3d 1236,1238 (1 1th Cis. 1999),Petitioner has not established

that a remedy under 5 2255 is inadequate or ineffective to test the legality of her d e t e n t i ~ n . ~

                                                     Timeliness

          The Antiterrorism and Effective Death Penalty Act ("AEDPA"), effective April 24, 1996,

amended 5 2255 and established a one year limitation period for motions filed pursuant to 5 2255.

See Goodman v. United States, 151 F.3d 1335,1336 (1 1th Cis. 1998). Specifically, 5 2255 provides

that the one year limitation period shall run from the latest of:

         (1)      the date on which the judgment of conviction becomes final;
         (2)      the date on which the impediment to making a motion created by governmental
                  action in violation of the Constitution or laws of the United States is removed, if the
                  movant was prevented from making a motion by such governmental action;
         (3)      the date on which the right asserted was initially recognized by the Supreme Court,
                  if that right has been newly recognized by the Supreme Court and made retroactively
                  applicable to cases on collateral review; or
         (4)      the date on which the facts supporting the claim or claims presented could have been
                  discovered through the exercise of due diligence.

28 U.S.C. § 2255.

         Petitioner was convicted on January 31,2003 and was sentenced on April 14, 2003 (Dkts.

366,417). Her convictions were affirmed on appeal on March 5,2004 (Dkt. 5 18). See UnitedStates

v. Martinez, 99 Fed.Appx. 880 (Table) (1 lth Cis. 2004). Petitioner did not seek certiorari review.

Her convictions became final on June 3,2004, when the time for filing for certiorari review expired.



            The savings clause applies when (1) a claim is based upon a retroactively applicable Supreme Court decision;
(2) the holding of the Supreme Court decision established that the petitioner was convicted for an offense that is now
nonexistent; and (3) circuit court law squarely foreclosed such a claim at the time it otherwise should have been raised
in the trial, appeal, or first $ 2255 motion. Sawyer, 326 F.3d at 1365 (citing Wofford, 177 F.3d at 1244). All'three
criteria must be satisfied in order for a petitioner to proceed under the savings clause. Flores I). McFadden, 152
Fed.Appx. 913,914 (1 lth Cir. 2005), cert. denied, 126 S.Ct. 2342 (2006).
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Kaufmann v. United States, 282 F.3d 1336,1338 (1 lth Cir. 2002). Accordingly, she had until June

3,2005 to file a timely 5 2255 motion. Petitioner filed the instant Petition on September 12,2006

(Dkt. 546), more than a year after the one year limitation period expired. The Petition is therefore

time barred and subject to dismissal unless Petitioner can show that she was prevented from filing

a timely petition because of extraordinary circumstances that were both beyond her control and

unavoidable even with diligence. Sandvik v. United States, 177 F.3d 1269, 1271 (1 lth Cir. 1999)

(Equitable tolling appropriate when movant untimely files because of extraordinary circumstances

that are both beyond his control and unavoidable even with diligence.). The burden of establishing

entitlement to this extraordinary remedy plainly rests with the Petitioner. Drew v. Department of

Corrections, 297 F.3d 1278, 1286 (1 1th Cir. 2002), cert. denied, 537 U.S. 1237 (2003).

         Here, Petitioner does not even attempt to establish an arguable basis for equitable tolling of

the limitation p e r i ~ dIn
                           . ~the Court's order entered afterpreliminaryreview of the Petition, Petitioner

was directed to show cause why her construed 5 2255 motion should not be dismissed as time barred

(Dkt. 547, p. 7). In her response, Petitioner did not address whether her Petition was time barred or

whether there were circumstances beyond her control which prevented her from filing a timely

motion. Moreover, this Court gleans nothing from the allegations of the Petition which would

arguably support equitable tolling.

         In the Petition, Petitioner contends that she is actually innocent (Dkt. 546, p. 4). Actual

innocence, however, does not support equitable tolling ofthe applicable limitation period. See Taylor




         %ee Day v. McDonough, 547 U.S. 198 (2006) (district courts may consider m a sponte the timeliness of a state
inmate's habeas petition but must accord the parties fair notice and an opportunity to present their positions); see also
Gay v. United States, 816 F.2d 614, 616 n. 1 (1 lth Cir. 1987) (stating that the principles developed in 5 2254 habeas
cases apply to $ 2255 motions) (citation omitted).
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v. Secretay, Dept. of Corrections, 230 Fed. Appx. 944 (1 lth Cir. 2007)([W]e have never held that

there is an "actual innocence" exception to the AEDPA's one-year statute of limitations, and we

decline to do so in the instant case because Taylor has failed to make a substantial showing of actual

inn~cence.").~

         Even if a claim of actual innocence might support a tolling of the limitation period, Petitioner

does not make a factual claim of actual innocence. Rather, in what appears to be a form pro se

petition, mentioning Petitioner's offense and conviction only parenthetically, she contends that the

statute vesting jurisdiction in this Court is void (Issue One), that the penalty provisions of 2 1 U.S.C.

$5 841 and 846 are unconstitutional (Issue Three)', that the Government committed "fraud on the
C O U ~ ~regarding
          "        the passage of unconstitutional acts (Issue Four), and that this Court "never had

Article HI authority (Issue Six).

         Not only does Petitioner fail to argue factual innocence, she offers no new, reliable factual

evidence which might otherwise support a claim of actual innocence. In the context of overcoming

a procedural default, a claim of actual innocence must include credible evidence, that is, "new

reliable evidence-whether it be exculpatory scientific evidence, trustworthy eyewitness accounts, or

critical physical evidence-that was not presented at trial." Schlup v. Delo, 5 13 U.S. 298,324 (1995);

House v. Bell, 126 S.Ct. 2064,2077 (2006). Petitioner's burden is to demonstrate that more likely

than not, in light of the new evidence, no reasonablejuror would find her guilty beyond a reasonable

doubt. 126 S.Ct. at 2077. Assuming, without deciding, that a claim of actual innocence could



           In this Circuit, actual innocence is not a cognizable claim in non-capital habeas cases. Jordan v. Secretary,
Dept. of Corrections, 485 F.3d 1351, 1356 (1 1th Cir. 2007)("For what it is worth, our precedent forbids granting habeas
relief based upon a claim of actual innocence, anyway, at least in non-capital cases.").

          Petitioner was not charged with a narcotic offense. 21 U.S.C. $8 841 and 846 therefore do not apply to her.
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support equitable tolling, Petitioner has not satisfied the threshold of an actual innocence claim at

the gateway stage discussed in Schlup and House.

         Petitioner's contention that the district court lackedjurisdiction over her during her criminal

prosecution is facially frivolous. The remaining issues Petitioner raises relating to jurisdiction are

likewise frivolous. Because this Petition is clearly time barred, it is unnecessary to address the

merits of any of the other claims Petitioner raises, including her claim of ineffective assistance of

counsel

         Accordingly, is hereby ORDERED AND ADJUDGED:

         1)      Petitioner's Habeas Corpus Petition Pursuant to the Original Habeas Corpus and

Request for Dismissal of the Indictment and Conviction and Request for Declaratory Judgment (Dkt.

546), "as filed" is DISMISSED as this Court lacks subject matter jurisdiction.

        2)       Petitioner's Habeas Corpus Petition Pursuant to the Original Habeas Corpus and

Request for Dismissal ofthe Indictment and Conviction and Request for Declaratory Judgment (Dkt.

546), construed as a 5 2255 motion to vacate, is DISMISSED as time barred.

        3)       Petitioner's Motion to Respond to Original Habeas Corpus Dismissal of the

Indictment and Conviction for Declaratory Relief (Dkt. 550) is DENIED.

        DONE AND ORDERED in Tampa, Florida, this
                                                                  *
                                                              'f day of Februasy 2008.


                                                         D. WHITTEMORE
                                                         tates District Judge

Copies to:
Pro Se Petitioner
United States Attorney
